William H. Dick made claim against the estate of William H. Hatten, deceased, for services rendered and money advanced. There was a denial of the claim by the estate and a counterclaim was interposed.  A motion by plaintiff for postponement of the trial was denied.  The judgment dismissed the claim and awarded judgment on the counterclaim. Claimant appeals.
The ruling denying a motion for continuance November 3, 1938, is claimed to be error as is an order entered November *Page 258 
21, 1938, disallowing the claim and the order entered December 15th, denying the motion for a new trial and the judgment entered December 19, 1938.  The plaintiff's claim against the Hatten estate was based on the allegations that Hatten and the plaintiff incorporated the Tallahatchie.  Lumber Company in 1907; that the charter of the corporation expired September 28, 1927, by reason of the limitations appearing on the face of the charter; that at the time Hatten owned fifty-five per cent of the stock and the plaintiff forty-five per cent.  The corporation acquired considerable property and did extensive business.  It is alleged that after the expiration of the charter Hatten took over assets of the company, used them as his own, and transacted his personal business under the name and style of the Tallahatchie Lumber Company; that plaintiff acted as Hatten's secretary; that this manner of doing business continued until the death of Hatten; that the estate was indebted to plaintiff in the sum of $122,820.90; that by reason of certain transactions in which the plaintiff acted for the accommodation of Hatten he incurred certain liabilities and that out of these liabilities and services the claim filed arose.  The administrator interposed an answer denying liability as alleged in the complaint and set up eight counterclaims alleging money due the estate from the plaintiff.  Judgment was eventually entered on six of the counterclaims for $95,342.53, with costs.
On the cause being reached for trial motions for continuance were made by the plaintiff, opposed by the estate, and denied by the court.  The plaintiff's motions for continuance were based upon lack of time for preparation and illness.  In support of the motion it was contended that because the books of the.  Tallahatchie Lumber Company had been for a long time in the custody of the court commissioner, plaintiff was deprived of an opportunity to make sufficient examination thereof to prepare for trial; that the books were not returned to him until September 8, 1938.  The time for hearing *Page 259 
on this claim was set for various dates, the final being October 26th.  On October 15th plaintiff and David N. Harsh made an affidavit in support of a motion for a continuance. This was presented by the attorney for plaintiff and alleged they had "set about working up our case in chief and in answer to the cross claims . . . and find that it is humanly impossible to digest the voluminous record in this case on all questions raised by the First Wisconsin Trust Company in their cross claim in the short time allotted before trial," and in addition alleged the ill-health of the plaintiff. The defendant opposed this motion.  The record shows that the trial had been first set for September 6th.
A motion for continuance was presented on October 24, 1938.  A continuance was granted from October 26th to October 31st.  On the latter date, when the case was called, plaintiff's attorneys appeared and again moved for a continuance. The court set the case for trial November 3d.  On that date one of plaintiff's attorneys appeared and renewed the motion for continuance and filed additional affidavits. This motion was denied and the attorney for the plaintiff shortly withdrew from the courtroom.  No evidence was offered in support of claim.  Proof was taken upon the counterclaims made by the defendant.  Judgment was directed in its favor as stated.
The various pleadings and statements which the court relied upon in ruling upon the motions for continuance showed in substance as follows:  The time for filing claims was limited to August 21, 1937.  From the affidavits in opposition to the motions it appeared that from May 18, 1937, the administrator was with considerable insistance attempting to secure from the plaintiff information as to the affairs of the Tallahatchie Lumber Company, and early in the correspondence advised the plaintiff that there was evidence of his indebtedness to Hatten.  On August 14th plaintiff procured an extension of time for filing his claim to November 8, *Page 260 
1937.  From the evidence given in the adverse examination of the plaintiff it appeared that plaintiff had been manager of the lumber company; that plaintiff had possession of the records until he delivered them to the court commissioner; and that on August 2, 1938, the court set as date of trial September 6th.  Plaintiff requested postponement to October 18th and the date was set for October 26th. On October 13th plaintiff's attorney announced that continuance would be asked because he was not prepared.  Three distinct motions for postponement were made as stated above.  The showing upon these motions on plaintiff's part was to the effect that there had not been sufficient time in which to prepare for trial and that he was ill.  The affidavit of a doctor stated that he had been in attendance upon the plaintiff for more than two weeks; that the doctor had prescribed rest and regular medical treatment; that in his opinion the plaintiff was in no physical condition for traveling; and that any extended trip would jeopardize his life.  That affidavit was dated October 26, 1938.  Other affidavits, asserting illness of plaintiff and supporting the character of affiants, were filed.  It appeared from the statement of counsel for plaintiff that on October 26th plaintiff was in his office, and that he went with the attorney to the doctor's office.  It also appears from affidavits of two investigators that on October 28th they called at the plaintiff's home, had a brief conversation with him, noted that he was dressed, and testified that he conducted himself as one enjoying good health, and in their judgment appeared to be in good physical condition.  This incident described by the investigators was not explained by the plaintiff when the motion for continuance was made on November 3d.  In the adverse examination it appeared that the agreement on which the plaintiff founds his claim was not made in the presence of any witness nor was the same reduced to writing. *Page 261 
The occasions of presenting the question now raised are comparatively few.  As a general rule motions for continuance pass off upon affidavits when circumstances are shown which prevent a party from completing his preparation for trial or that a witness has failed to appear. The party swears he cannot safely go to trial because of such good reason and a postponement is granted, the presentation of the reasons overcoming the presumption that the application is made for the mere purpose of delay.
It is true that in every case where a discretionary order in effect denies a party his day in court, the result superficially regarded seems to constitute the doing of a substantial injustice in order to vindicate technical procedural ends.  While such a feeling is natural and always present, it has in actuality no foundation where the trial court was warranted in believing that inadequate reasons were being urged to delay a trial upon the merits.  The delay of justice is to a substantial extent a denial of it, and if the attempt by one to delay, results in depriving him of an opportunity which by conformity to a proper practice might be his, it is a result brought by himself.  Especially is this true where the record indicates lack of evidence to sustain a claim, and there exists reason for believing that the merits do not deserve or will not bear a close judicial scrutiny.
The practice to be followed in bringing on matters for hearing in the county court differs from that in a circuit *Page 262 
court in ways relating to formalities; and applications for continuances must occur at times.  But well-defined rules cover the consideration of such procedure. Sec. 253.10 (1), Stats., provides regular terms of county courts, and that matters not disposed of are continued until the next regular term unless otherwise ordered.  It is also provided in sec. 313.03 (5) as follows:
"Hearing; adjournment; prompt judgment.  The hearing on claims or on any claim may be adjourned, when necessary from time to time, and the hearing shall be concluded as soon as practicable."
The discretion of the county judge must be properly exercised when a postponement is sought.  A standard of requirements in making a proper case for adjournment may be found in reported cases and by analogy in the statutes regulating such procedure in circuit courts.  (See sec. 270.145, Stats.)
A party seeking a continuance ought to show by affidavits that he has a valid cause of action or defense; that the case has been fully and fairly stated to his counsel; that upon the statement thus made he is advised he has a cause of action or defense to the cause of action in whole or in part; that he has used due diligence to prepare for trial, and the nature and kind of diligence used.  Where the application rests upon the fact that a witness will be absent, it must appear that no other evidence is at hand or witness is in attendance or known to the applicant whose testimony could have been procured in time and upon which the party can safely rely to prove the facts which he expects and believes can be proved by the absentee; that the party is advised by his counsel and believes that he cannot safely go to trial without such evidence. This contemplates the existence of evidence which may properly be used to establish a cause of action, and that the witness is not absent with consent of the party or by his connivance or procurement.  There should of course be a *Page 263 
showing of the effort made to secure the evidence and the facts the absent witness is expected to prove, together with a statement of the grounds of such expectation.
Rulings in matters of this sort, especially when they result in dismissal of claims, may have the aspect if not the characteristics of a penalty, but even so where one knows of the invalidity or has reason to doubt the validity of his claim and because of this seeks to escape defending rather than to maintain his cause so as to delay a recovery upon the claim another, the detriment he suffers is not disproportionate to his offense.  The justification of the exercising of the severe ruling lies in thus compelling timely submission to trial. When the circumstances made to, appear upon a motion to continue satisfy the court that the real purpose in moving for a continuance is to delay rather than prepare for trial, then the motion should be denied, and the refusal of the mover to proceed would bring its own consequences.  Hewitt v. Commonwealth, 17 Grat. 627, 58 Va. 627; Schamper v. Ullrich,131 Wis. 524, 111 N.W. 691.  There would be embarrassing delays if the rule were otherwise and the trial court were not permitted to exercise a liberal discretion in ruling upon dilatory motions.  Although the discretion is not arbitrary and is controlled by principles calculated to facilitate the progress of litigation and to promote the ends of justice, where there has been laches or there is reason to suspect that the object is delay, the postponement is not a matter of right, and the court is then to take into consideration all the circumstance's and grant or deny the application in the exercise a sound discretion.  "Such an application is always addressed to the sound discretion of the trial court, and prejudice must be made to appear in order to set aside its ruling thereon."  Druska v. Western Wis. Tel. Co. 177 Wis. 621,623, 189 N.W. 152; People v. Vermilyea, 7 Cow. (N.Y.) 369; Worsley v. Bisset, 3 Doug. 58; Brooklyn Oil Works v.Brown, 7 Abb. Prac. (N.S.) 382, 38 How. Prac. 451; State *Page 264 ex rel. Hallam v. Lally, 134 Wis. 253, 114 N.W. 447; Millerv. State, 139 Wis. 57, 119 N.W. 850; Will of Bilty,171 Wis. 20, 176 N.W. 220; Schamper v. Ullrich, supra.
The appellant desired to delay the trial which had been set for October 26, 1938, until in the spring of 1939.  He gave as reasons for the long postponement, first, that he was unable to prepare for trial because of lack of time and later that he suffered ill-health.  The application for continuance was opposed.  The respondent offered counteraffidavits bearing upon the health of the appellant, and submitted the record, including appellant's examination under the discovery statute, from which it appeared that appellant's case depended upon the existence of a contract between him and Hatten under which Hatten took possession of and agreed to assume the debts of the Tallahatchie Lumber Company and undertook to pay appellant a salary of $7,500 per year as agent. It also appears from that examination that the alleged agreement rested in parol and that there were, no witnesses to its making or its existence.  The affidavits submitted failed to comply with the rules.  The trial court was compelled to find a failure with respect to statements of the validity of the claim against the estate.  There was no, affirmation that the case had been fully and fairly stated to counsel.  The affidavit of October 26th stated that the appellant had a valid and substantial defense to counterclaims interposed by the administrator, but was silent on the matter of a valid claim against the estate.  A partial compliance with a rule fixing an essential condition to the granting of a continuance is not a compliance with it, and when such a failure is accompanied by circumstances disclosing a purpose to delay, there is a call for a scrutinizing examination by the court of all the affidavits and circumstances put forth to secure postponement of a trial.
Good faith must characterize the application.  Here the plaintiff insisted that because of lack of time and want of *Page 265 
access to books and records of the company in which he and Hatten were interested he had been unable to prepare his case for trial and that he was entitled to further consideration. The books of the Tallahatchie Lumber Company had always been in his possession until January 1, 1938, when he delivered them to the court commissioner in response to a subpoena.  They were returned to him subsequently, but while out of his physical possession they were accessible to him and his attorneys if they chose to visit the commissioner's office.  It is considered that the trial court was well warranted in ruling against the plaintiff on the point of diligence in preparation.  It is a matter of presumption that the plaintiff will be ready for trial at the calling of the cause.  It is likely that he is possessed of evidence sufficient to maintain his action if sufficient evidence exists, from the very fact that the action has been commenced by him.  This presumption, however, does not preclude a plaintiff from a continuance when actually unprepared for trial, if free from laches.  But when it appears that he is guilty of laches in preparing for trial, his want of preparation will not justify the continuance.
In addition to the lack of preparation plaintiff also assigns as a ground for continuance his inability due to illness to be present at the trial.  If that condition were sufficiently shown to exist, it would constitute good grounds for postponement; but when there is cause for suspicion that the health of the appellant was not impaired and that the object is delay, and where an investigation into the condition of health discloses that when the appellant was supposed to be too ill to attend court and to be confined to his bed, he was up and around, the court is justified in requiring a minute statement of circumstances and facts on which the application rests.  On August 8, 1938, we note that in a letter it was intimated a delay would be necessary because the appellant would be away from home on business during August and *Page 266 
part of September.  One of the attorneys for appellant in explaining his failure to answer letters which had been written in August and September on October 3, 1938, advised that he had just returned from the west coast and had been out of town off and on a great deal of the summer.  The suggestion of impaired health as a reason for continuance appeared in an affidavit bearing date October 15, 1938, and it is there stated that his years and avoirdupois have resulted in his working under most adverse circumstances, and that a bad cold has "been aggravated by the long hours which he has necessarily put on this case."
The effort of claimant was not convincing.  After October 26, 1938, had been fixed as the date of trial this motion for continuance was made and the case was continued until October 31st.  On October 31st the case was called for trial and motion for further continuance was then made, whereupon the court set the case for trial November 3d.  Shortly after the trial began on November 3d an attorney for the appellant appeared and renewed the application for continuance, filing additional affidavits in support of the motion. The affidavits show a desire for a continuance but failed to convince the trial court that justice required a continuance. The appellant had long since been fully advised that objections existed to his claim.  On August 22d the administrator's answer and counterclaims were served.  There was then a request for forty days' time to reply.  This request was granted.  On September 1st there was a telephone conversation between one of the attorneys for the respondent and one for the appellant with reference to the time for trial.  During the period from August 23d to October 13th several letters were exchanged, but no indication was given that there would be any request for further continuance.  On October 13th, however, appellant's attorneys advised that the investigation necessary to be made of the books and documents which had been returned to the plaintiff would necessitate a continuance, and October 31st was suggested by the attorneys *Page 267 
for the respondent as a sufficient postponement.  As already pointed out, there was no suggestion of the claimant's ill-health advanced as a reason for postponement of the trial until the affidavit bearing the date October 15th and signed by appellant and one of his attorneys was presented October 24th.  This was followed by the other affidavits referred to. One signed by a physician October 26th was based on facts made to appear when the appellant himself visited the doctor's office.  The physician deposes that he prescribed rest and regular treatment and ordered the appellant to bed. There is evidence that the appellant did not take this advice seriously.  As the affidavit is drawn it is capable of creating the impression that the claimant had been in bed for some time, that the doctor had gone to him, and that his prescription of rest and medical treatment had been given considerable time before the date of the affidavit, but this impression would be contrary to the facts as shown.  On October 29, 1938, an undated affidavit was filed in which the affiant stated that the appellant had had a cold which had progressively grown worse; that his doctor advised that the trial of the case, necessitating a drastic change in climate, would endanger his life, and advised against his subjecting himself to the northern climate during the fail and winter.  That affiant was present in court on October 31st and was asked concerning the date of the affidavit.  The reply was:  "It was made when I returned from Dr. Colbert's office on October 26th.  That is my best recollection.  I am satisfied it was the 26th.  Question:  Was Mr. Dick in his office on that day? Answer:  Yes, Mr. Dick went to the doctor's office with me."
Other affidavits describing the claimant as confined to his bed were submitted.  These substantially agree in statement with the affidavit referred to, to the effect that on October 31st claimant was suffering from a bad cold and was in such condition as would not justify him in leaving bed, and that any attempt to appear in court would prejudice his health and life.  It was shown, however, that on October 28th he *Page 268 
was not confined to his bed.  The trial court was justified in his analysis of the efforts made in behalf of appellant's motion for a postponement of the trial and the conclusion reached.  There are reasons for the opinion that the condition of the appellant's health was brought into the matter to aid in the effort to secure a continuance which was first based on the ground of lack of preparation and which was not proving effective.
The appellant and Hatten had been associated in business for many years.  Hatten died March 30, 1937.  The time for filing appellant's claim was extended on his request to November 8, 1937.  His claim was filed.  He was examined under the discovery statutes on January 10 and 11, 1938. The examination disclosed that the agreement upon which he was relying rested in parol with no witness other than the appellant to the transaction.  While an application for continuance is not a motion for judgment on the pleadings or for a summary judgment and the refusal to grant such motion may result in the dismissal of the action; nevertheless, when it appears in the pleading of the party or by his admission under oath that he is without evidence to sustain his claim, there can be no reason for further pursuing the matter. Incompetency of a witness to testify concerning the agreement is a fact which the court under the circumstances of this case could consider in forming his judgment upon the good faith of the motion for a continuance.
The trial court being of the opinion that sufficient reason did not exist for the granting of the continuance, refused to grant it, proceeded with the trial, and rendered the judgment from which the appellant appeals.  We cannot say that the conclusion reached below upon the showing there made constituted an abuse of discretion.
While in the appellant's motion for a new trial he asserts that the judgment is contrary to the evidence, there is no serious contention made in the brief or on the argument that *Page 269 
the evidence as offered does not sustain the finding.  When the motion for new trial was before the court below, appellant advanced no claim of this sort and let his motion rest upon the failure to grant the continuance.  An examination of the record before us leads to the conclusion that the undisputed evidence sustains the findings.
By the Court. — Orders and judgment affirmed.
FOWLER and NELSON, JJ., dissent.